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     JANINE EVELER· 30b6                                      November 29, 2022
     UNITED STATES vs THE STATE OF GEORGIA                                    1

·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA

·3· · · · · · · · · · · · ATLANTA DIVISION

·4

·5
· · · · · · · · · · · · · · · · · · · · · · Master Case No:
·6· ·IN RE GEORGIA SENATE BILL 202· · · · · 1:21-MI-55555-JPB

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·9

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11· · · · · · · ·30(B)(6) VIDEOTAPED DEPOSITION OF

12· · ·COBB COUNTY BOARD OF ELECTIONS AND VOTER REGISTRATION

13· · · · · · · · · · · (MS. JANINE EVELER)

14· · · · · · · · · · · ·November 29, 2022

15· · · · · · · · · · · · · ·10:02 a.m.

16· · · · · · · · · · · 995 Roswell Street

17· · · · · · · · · · Marietta, Georgia 30060

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19

20

21

22

23· · · · · · · · · Marcella Daughtry, RPR, RMR

24· · · · · · Georgia License No. 6595-1471-3597-5424

25· · · · · · · · · · California CSR No. 14315


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·1· · · · A· ·Yes.· Monday through Friday this week, uh-huh.
·2· · · · Q· ·What have -- to the best of your knowledge,
·3· ·what have the line lengths been thus far into the voting
·4· ·period for the different days?
·5· · · · A· ·At -- at some locations we had up to two hours,
·6· ·but most of the time it's been 30 minutes.
·7· · · · Q· ·Do you allow people with disabilities who have
·8· ·difficulty waiting in lines to go to the front of the
·9· ·line?
10· · · · A· ·We do.
11· · · · Q· ·And how does a person with a disability request
12· ·this?
13· · · · A· ·They have to state their request to a poll
14· ·worker.
15· · · · Q· ·Is there any signage or other printed
16· ·information informing voters with disabilities about that
17· ·ability?
18· · · · A· ·There is.
19· · · · Q· ·And where is that generally posted?
20· · · · A· ·It's near where the line would form.· Sometimes
21· ·the line gets longer than that point, and the practice is
22· ·to put a poll worker at the end of the line and to help
23· ·direct people.
24· · · · Q· ·Prior to the passage of SB 202, did volunteers
25· ·sometimes pass out food or water or other refreshments to


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·1· ·monitoring, as far as any -- whether any sort of message
·2· ·was being conveyed, your understanding at the time was
·3· ·that the only types of messages that would be prohibited
·4· ·were those that you'd consider electioneering, correct?
·5· · · · A· ·Correct.
·6· · · · Q· ·Ultimately, do you recall that this -- the
·7· ·Vote.org food truck was -- there was an investigation
·8· ·about whether this was proper under current law?
·9· · · · A· ·There was an investigation at the State
10· ·Election Board level.· I don't recall what happened with
11· ·that.
12· · · · Q· ·Would it surprise you that to find that there
13· ·was a finding of no violation ultimately?
14· · · · A· ·No, it wouldn't surprise me at all.
15· · · · Q· ·Was it your understanding that some of the
16· ·groups that were providing line relief wanted the contact
17· ·with voters rather than having an election official hand
18· ·the food or drink out for them?
19· · · · A· ·I would say --
20· · · · · · MR. WHITE:· Object to the form.
21· · · · · · THE WITNESS:· I would say based on reactions
22· ·from offers to take the items to the voters for our poll
23· ·workers, for them to leave them with the poll workers and
24· ·the poll workers would distribute and that they didn't
25· ·want to do that, that that would indicate that they


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·1· ·wanted that contact, yes.
·2· · · · Q· ·BY MR. ROSBOROUGH:· Okay.· Do you have any
·3· ·understanding of why they wanted that contact?
·4· · · · A· ·I can't speculate.
·5· · · · Q· ·Okay.· I'm going to hand over what we will mark
·6· ·as Exhibit 43.· This is COBB 27515.
·7· · · · · · (Deposition Exhibit 43 was marked for
·8· ·identification.)
·9· · · · Q· ·BY MR. ROSBOROUGH:· Do you recognize this
10· ·document?
11· · · · A· ·Not really.
12· · · · Q· ·Do you recognize this as a guidance regarding
13· ·line relief prior -- from February 2020?
14· · · · A· ·I recognize Elizabeth Monyak as a -- as
15· ·Associate County Attorney in our County Attorney's
16· ·Office, and the date says 2/24/2020.
17· · · · Q· ·Okay.· And I'm just going to read the -- so
18· ·the -- this document is titled "Prohibitions on Election
19· ·Day (Reference O.C.G.A. Section 21-2-414)"; is that
20· ·correct?
21· · · · A· ·Yes.
22· · · · Q· ·And it reads at the top, "Georgia's election
23· ·law bars the following four activities in a designated
24· ·zone near polling places on any day when ballots are
25· ·being cast:· Solicitation of votes in any manner or by


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·1· · · · Q· ·Do you recall getting any complaints about line
·2· ·relief prior to the 2020 election cycle?
·3· · · · A· ·Yes, I think we did, but I think, like I said
·4· ·earlier, it became very popular in 2020.· Because there
·5· ·were long lines, we -- we had, you know, pizzas being
·6· ·delivered to voters.· There was all kinds of, you know,
·7· ·bands set up to entertain people.· It was just a lot of
·8· ·things going on, and that made it a little chaotic.
·9· · · · Q· ·If the criminal line relief ban as enacted in
10· ·SB 202 were struck down and you were to revert to your
11· ·previous policy as we just discussed, what would that
12· ·take in terms of implementation for your office?
13· · · · · · MS. LaROSS:· Objection as to form.
14· · · · · · THE WITNESS:· Well, we wouldn't have to
15· ·implement anything.· It would -- it would be the same
16· ·situation, I assume, as before, where we had lots more
17· ·activity out in the line, and I'm not sure whether there
18· ·is electioneering or if there is materials with campaign
19· ·information.· It -- it would just be more -- more workers
20· ·that were out there, you know, watching the line.
21· · · · Q· ·BY MR. ROSBOROUGH:· So how long prior to an
22· ·election -- or prior to a day of voting, I should say,
23· ·would you need to feel like you could properly implement
24· ·the change back to the previous state of the law?
25· · · · A· ·Well, again, we wouldn't do anything to


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·1· · · · · · · · · · CERTIFICATE OF REPORTER

·2· ·STATE OF GEORGIA· · )
· · · · · · · · · · · · ·)
·3· ·COUNTY OF DEKALB· · )

·4

·5·   · · · · · ·I, Marcella Daughtry, a Certified Reporter in
· ·   ·the State of Georgia and State of California, do hereby
·6·   ·certify that the foregoing deposition was taken before me
· ·   ·in the County of DeKalb, State of Georgia; that an oath
·7·   ·or affirmation was duly administered to the witness,
· ·   ·JANINE EVELER; that the questions propounded to the
·8·   ·witness and the answers of the witness thereto were taken
· ·   ·down by me in shorthand and thereafter reduced to
·9·   ·typewriting; that the transcript is a full, true and
· ·   ·accurate record of the proceeding, all done to the best
10·   ·of my skill and ability;

11·   · · · · · The witness herein, JANINE EVELER, has
· ·   ·requested signature.
12
· ·   · · · · · I FURTHER CERTIFY that I am in no way related
13·   ·to any of the parties nor am I in any way interested in
· ·   ·the outcome hereof.
14

15· · · · · · IN WITNESS WHEREOF, I have set my hand in my
· · ·office in the County of DeKalb, State of Georgia, this
16· ·9th day of December, 2022.

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· ·   ·   ·    ·   ·   ·   ·   ·   ·   ·   ·   ______________________________
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